                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA



UNITED STATES OF AMERICA,                   ) No. 3:10-cr-00123-HRH-JDR
                                            )
                  Plaintiff,                )
                                            ) PROTECTIVE ORDER
      vs.                                   )
                                            )
JOSE MANUEL NOYOLA-MARTINEZ,                )
  a/k/a “Scooby”,                           )
ADAN E. BARRAGAN,                           )
  a/k/a “Lalo”, a/k/a “El Compa”,           )
ANTONIO LOERA ISIDRO,                       )
  a/k/a “Tomato”, a/k/a/ “Manuel Delrio”,   )
JAIR RIOS ROMERO                            )
  a/k/a “Goofy”,                            )
ARMANDO MONTANO-MORALES,                    )
JONATHAN MANUEL SANTANA,                    )
 a/k/a “Flip”, a/k/a “Janta”,               )
ALBARO RIVERA GARCIA,                       )
  a/k/a “The Dude”,                         )
CARLOS OLIVARES, and                        )
JUAN CARLOS RUBIO-MALDONADO,                )
INES GUTIERREZ GASPAR,                      )
a/k/a “El Camaron”, a/k/a “The Shrimp”,     )
PANFILO MORALES GONZALEZ,                   )
ANTONIO CARDENAS PEREZ,                     )
a/k/a “Perico”,                             )
RICHARD J. LOSE,                            )
a/k/a “El Toro”, a/k/a “The Bull”,          )
STEVEN J. HANSON, and                       )
DERLAND M. GEORGE,                          )
a/k/a “Yogi”,                               )

                  Defendants.


      Case 3:10-cr-00123-HRH Document 126 Filed 03/29/11 Page 1 of 5
      Pursuant to hearing conducted on March 14, 2011 and having considered the

motion [89] filed by the United States for a Protective Order pursuant to Federal Rule

of Criminal Procedure 16(d)(1), the Court finds “good cause” to order the following

restrictions on discovery.

(1)   Any materials provided by the United States in discovery may be shared with

      the defendants and other members of the defense team, including other

      attorneys, staff, and investigators. However, such documents and recordings

      are not to be given to or played for any other individuals, except upon showing

      of good cause in a further application to the Court.

(2)   The discovery materials under Protective Order may not be left at any

      correctional facility so that the defendants in custody can review same in an

      unsupervised and non-secure environment. The defendants, whether in custody

      or not, may not share such information in such documents or recordings with

      others who are not members of their defense team.

                     MATERIALS ALREADY PRODUCED

      On March 4, 2011, the government made available to defendants Santana and

Olivares an initial set of discovery materials. These same materials were made

available to defendant Noyola-Martinez on December 22, 2010, January 18, 2011,

January 25, 2011 and March 4, 2011. Included in those initial materials were several

search warrant applications, supporting affidavits, attachments, and the actual search


       Case 3:10-cr-00123-HRH Document 126 Filed 03/29/11 Page 2 of 5
warrants issued by the Court. Those materials were provided in digital form, on a

Compact Disc marked as CD #1 for defendants Santana and Olivares and on multiple

compact discs for defendant Noyola-Martinez. The government has gone through

those materials and requests that the following designated Bates numbered pages be

subject to the protective order:

 BATES NUMBER DESCRIPTION                           DESCRIPTION
 00000009-00000014                       Search Warrant Affidavit
 SW_00000067-SW_00000071                 Search Warrant Affidavit
 SW_00000081-SW_00000087                 Search Warrant Affidavit
 SW_00000097-SW_000000103                Search Warrant Affidavit
 SW_00000110-SW_00000130 Search           Warrant Affidavit
 SW_00000140-SW_00000160                 Search Warrant Affidavit
 SW_00000175-SW_00000195                 Search Warrant Affidavit
 SW_00000205-SW_00000225                 Search Warrant Affidavit
 SW_00000223-SW_00000239                 Search Warrant Affidavit
 SW_00000263-SW_00000267                 Search Warrant Affidavit
 SW_00000291-SW_00000311                 Search Warrant Affidavit
 SW_00000320-SW_00000340                 Search Warrant Affidavit
 SW_00000362-SW_00000382                 Search Warrant Affidavit
 SW_00000408-SW_00000428                 Search Warrant Affidavit
 SW_00000446-SW_00000458                 Search Warrant Affidavit
 SW_00000471-SW_00000483                 Search Warrant Affidavit
 SW_00000496-SW_00000508                 Search Warrant Affidavit

                       MATERIALS TO BE PRODUCED


        Case 3:10-cr-00123-HRH Document 126 Filed 03/29/11 Page 3 of 5
      As discussed at the respective hearings held on the government’s motion for

a protective order, several audio and video recordings that have previously been

produced and several audio and video recordings that are ready to be produced in

discovery are subject to the protective order. The following list of discovery items

constitute the audio and video recordings:

              CD NUMBER                               DESCRIPTION
 CD #2                                       Video
 CD #3                                       Video
 CD #6                                       Video
 CD #7                                       Audio
 CD #8                                       Video
 CD #9                                       Video
 CD #10                                      Video
 CD #11                                      Video
 CD #13                                      Audio/Video
 CD #14                                      Audio/Video
 CD #16                                      Video
 CD #19                                      Video
 CD #21                                      Video
 CD #22                                      Video
 CD #23                                      Video
 CD #24                                      Video
 CD #25                                      Video
 CD #26                                      Video

      With respect to any additional items provided in discovery, if the government
         Case 3:10-cr-00123-HRH Document 126 Filed 03/29/11 Page 4 of 5
believes that any such materials should be subject to the protective order, the

government will file an additional notice at the time that those materials are provided.


      IT IS SO ORDERED.

      DATED at Anchorage, Alaska, this 29th day of March, 2011.

                                 /s/ John D. Roberts
                                 JOHN D. ROBERTS
                                 UNITED STATES MAGISTRATE JUDGE




        Case 3:10-cr-00123-HRH Document 126 Filed 03/29/11 Page 5 of 5
